Case 1:18-cV-00332-CWD Document 1 Filed 07/25/18 Page 1 of 6

DAVID E EASH, ISBA 4886
Davide@t`eltmanewing.com
Feltman Ewing, P.S.

421 W Riverside Ave., Suite 1600
Spokane, WA 992()l

(509) 838-6800

Fa,x: (509) 744-3436

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

 

DISTRICT OF IDAH()
BRANDI EDWARDS, ) Case No.
. . )
Plaintlfi", ) PLAINTIFF’S COMPLAINT AND
) DEMAND F()R JURY TRIAL
V. ) (Telephone Consumer Protection Act)
CAPITAL ONE BANK (USA) N.A., )
)
Det`endant. )
)
)
_C_QM_IM.N_I

COMES NOW the Plaintiff, BRANDI EDWARDS (“Plaintift”), by and through the
undersigned attorneys, and for Plaintist Complaint against Defendant, CAPITAL ONE
BANK (USA), N.A, (“Defendant”), alleges and affirmatively states as folloWs:
INTRODUCTION

l. Plaintiff brings this action on behalf of herself individually seeking damages and any other
available legal or equitable remedies resulting from the illegal actions of Defendant, in
negligently, knowingly, and/or Willfully contacting Plaintiff on Plaintift’ s cellular
telephone in violation of the Telephone Consumer Protection Act (hereinafter “TCPA”),

47 U.S.C. § 227 et seq.

_1_

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

Case 1:18-cV-00332-CWD Document 1 Filed 07/25/18 Page 2 of 6

JURISDICTION and VENUE
. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3). See,
Mims v. Ar)'ow Fz`nancz`al Se)'vices, LLC, 132 S.Ct. 740 (2012), holding that federal and
state courts have concurrent jurisdiction over private suits arising under the TCPA.
. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), Which states that such
actions may be brought and heard before “any appropriate United States district court
without regard to the amount in controversy.”
, Venue is proper 'in the United States District Court for the District of Idaho pursuant to 28
U.S.C § 1391(b) because Plaintiff resides Within this District and a substantial part of the
events or omissions giving rise to the herein claims occurred, or a substantial part of
property that is the subject of the action is situated within this District.

PARTIES
Plaintiff is a natural person residing in Payette County, in the city of Payette, Idaho.
. Defendant is a Delaware corporation doing business in the state of Idaho. Defendant’s
headquarters are located in McLean, Virginia.
. At all times relevant to this Complaint, Defendant has acted through its agents employees,
ofticers, members, directors, heir, successors, assigns, principals, trustees, sureties,
subrogees, representatives and insurers

FACTUAL ALLEGATIONS

. Det`endant placed collection calls to Plaintift` seeking and attempting to collect on alleged
debts incurred through purchases made on credit issued by Defendant.
. Plaintift‘s alleged debt arises from transactions for personal, family, and household

purposes

~2-

PLAIN'I`IFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

10.

11.

12.

13.

14.

15.

16.

17.

18.

Case 1:18-cV-00332-CWD Document 1 Filed 07/25/18 Page 3 of 6

Defendant placed collection calls to Plaintiff s cellular telephone at phone number (208)
405-31XX.

Defendant placed collection calls to Plaintiff from phone numbers including, but not
limited to (800) 955-6600.

Per its prior business practices, Defendant’s calls were placed with an automated
telephonic dialing system (“auto~dialer”).

Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)
(1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly
owed by Plaintiff, BRANDI EDWARDS.

Defendant’s calls constituted calls that were not for emergency purposes as defined by 47
U.S.C. § 227(b)(1)(A).

Defendant’s calls were placed to a telephone number assigned to a cellular telephone
service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
227(b)(1).

Defendant never received Plaintiff’s “prior express consent” to receive calls using an
automatic telephone dialing system or an artificial or prerecorded voice on her cellular
telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

On or about November 21, 2017, Plaintiff called into Defendant’s company at phone
number (800) 955-6600 and spoke with Defendant’s representative and requested that
Defendant cease calling Plaintiff’s cellular phone.

During the conversation on November 21 , 2017, Plaintiff gave Defendant both her phone
number, social security number and date of birth to assist Defendant in accessing her

account before asking Defendant to stop calling her cell phone.

_3_

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRlAL

Case 1:18-cV-00332-CWD Document 1 Filed 07/25/18 Page 4 of 6

19. Plaintiff revoked any consent, explicit, implied, or otherwise, to ca11 her cellular telephone
and/or to receive Defendant’s calls using an automatic telephone dialing system in her
conversation with Defendant’s representative on November 21, 2017.

20. Despite Plaintift"s request to cease, Defendant placed another collection calls to Plaintiff
using an automated telephone dialing system on November 24, 2017.

21. Despite Plaintiff’ s request that Defendant cease placing automated collection calls,
Defendant placed at least one hundred and thirty-eight (138) automated calls to Plaintiff’ s
cellular telephone after November 21, 2017.

FIRST CAUSE OF ACTI()N
NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

47 U.S.C. § 227

22. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
forth above at Paragraphs 1-21.

23. The foregoing acts and omissions of Defendant constitute numerous and multiple
negligent violations of the TCPA, including but not limited to each and every one of the
above cited provisions of 47 U.S.C. § 227 et seq.

24. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is
entitled to an award of $500.00 in statutory damages, for each and every violation,
pursuant to 47 U.S.C. §227(b)(3)(B).

25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

SECOND CAUSE OF ACTION

KNOWING AND/OR WILLFUL VIOLATIONS ()F THE TELEPHONE CONSUMER
PROTECTION ACT

47 .S.C. § 227 et. seg.

_4-

PLAINTIFF’S COMPLAlNT AND DEMAND FOR JURY TRIAL

Case 1:18-cV-00332-CWD Document 1 Filed 07/25/18 Page 5 of 6

26. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
forth above at Paragraphs 1-21.

27. The foregoing acts and omissions of Defendant constitute numerous and multiple knowing
and/or willful violations of the TCPA, including but not limited to each and every one of
the above cited provisions of 47 U.S.C. § 227 et seq.

28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

29. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, BRANDI EDWARDS respectfully requests judgment be
entered against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:
FIRST CAUSE OF ACTION

30. For statutory damages of $500.00 multiplied by the number of negligent violations of the
TCPA alleged herein (138); s69,000.00;

31. Actual damages and compensatory damages according to proof at time of trial;

SEC()ND CAUSE OF ACTION

32. For statutory damages of $1,500.00 multiplied by the number of knowing and/or willful
violations of TCPA alleged herein (138); $207,000.00;

33. Actual damages and compensatory damages according to proof at time oftrial;

ON ALL CAUSES OF ACTION

34. Actual damages and compensatory damages according to proof at time of trial,

35. Costs and reasonable attorneys’ fees;

_5_

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

Case 1:18-cV-00332-CWD Document 1 Filed 07/25/18 Page 6 of 6

36. Any other relief that this Honorable Court deems appropriate

JURY TRIAL DEMAND

37. Plaintiff demands a jury trial on all issues so triable.

Dered this lit day er fm /»\l 2018

  

FELTMAN EWING P.S.

David E. Eash, ISBA 4886
Attomeys for Plaintiff

_6_

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

